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                 CALIFORNIA EASTERN BANKRUPTCY
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                       25-20501

                       Stephen Donald Favis




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